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                                  UNITED STATES COURT OF APPEALS
                                       FOR THE SIXTH CIRCUIT
                                      100 EAST FIFTH STREET, ROOM 540
    Kelly L. Stephens                POTTER STEWART U.S. COURTHOUSE                              Tel. (513) 564-7000
          Clerk                          CINCINNATI, OHIO 45202-3988                            www.ca6.uscourts.gov


                                                 Filed: January 27, 2025

Ms. Tamara L. Sobolewski
1002 Dakota Avenue
Lorain, OH 44052

                   Re: Case No. 25-3046, Tamara Sobolewski v. Ford Motor Company
                       Originating Case No. 1:24-cv-01396

Dear Ms. Sobolewski,

   This appeal has been docketed as case number 25-3046 with the caption that is enclosed on a separate
page. Please review the caption for accuracy and notify the Clerk's office if any corrections should be
made. The appellate case number and caption must appear on all filings submitted to the Court.

   As the appellant, when you submit motions, briefs or any other documents to the Clerk's office, send only 1
original, which you have signed. Copies are no longer necessary. Do not staple, paper clip, tab or bind pro
se motions or briefs sent to the Clerk's office -- these documents are scanned and staples etc. create paper
jams. You must mail opposing counsel a copy of every document you send to the Clerk's office for filing.

    Opposing counsel will docket pleadings as an ECF filer. Check the ECF page on the court's web site
www.ca6.uscourts.gov for additional information about ECF filing if you are not familiar with it. The
following case opening items are due by February 10, 2025. The Disclosure of Corporate Affiliations is now
an automated entry. Filers may still use the form 6CA-1 located on the Court's website if the automated entry
does not provide sufficient space.

                   Appellee:     Appearance of Counsel
                                 Disclosure of Corporate Affiliation
                                 Application for Admission to 6th Circuit Bar (if applicable)

   The Clerk's office cannot give you legal advice but if you have questions, please contact the office for
assistance.

                                                 Sincerely yours,

                                                 s/Robin L Baker
                                                 Case Manager
                                                 Direct Dial No. 513-564-7014

cc: Mr. Samuel Evert Endicott

Enclosure
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                   OFFICIAL COURT OF APPEALS CAPTION FOR 25-3046




TAMARA L. SOBOLEWSKI

        Plaintiff - Appellant

v.

FORD MOTOR COMPANY

        Defendant - Appellee
